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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA                                    :
                                                                     SEALED
                    - v. -                                  :        AFFIRMATION
                                                                     AND APPLICATION
KONSTANTIN YAROSHENKO,                                      :
                                                                     09 Cr. 524 (JSR)
                                        Defendant.          :

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                    George D. Turner hereby affirms under penalty of perjury that he is an Assistant

United States Attorney for the Southern District of New York, and states as follows:

                    1.        On or about July 1, 2010, a grand jury in this District returned

Superseding Indictment S9 09 Cr. 524 (JSR), which charged KONSTANTIN YAROSHENKO

(“YAROSHENKO”), among others, with narcotics importation conspiracy, in violation of 21

U.S.C. § 963 (“Count One”). (Dkt. 32).

                    2.        On or about April 28, 2011, YAROSHENKO was convicted of Count One

after a jury trial. (Dkt. Minute Entry, Apr. 28, 2011).

                    3.        On or about September 7, 2011, the Court sentenced YAROSHENKO

principally to 240 months’ imprisonment. (Dkt. 107).

                    4.        YAROSHENKO is currently serving his sentence at FCI Danbury in

Danbury, Connecticut (“FCI Danbury”). YAROSHENKO’s Bureau of Prisons (“BOP”)

Register Number is 91562-054.

                    5.        The Government respectfully seeks, based on significant foreign policy

interests of the United States, and with the consent of Alexey Tarasov, Esq., counsel for


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YAROSHENKO, an Order enabling the U.S. Marshals Service (“USMS”) to take

YAROSHENKO out of FCI Danbury as early as Saturday, April 23, 2022, or any day thereafter

until Monday, May 2, 2022; to maintain custody of YAROSHENKO unless and until the

President of the United States executes the clemency power under Article II of the U.S.

Constitution with respect to YAROSHENKO, which the undersigned understands to be under

consideration based on communications with the National Security Division of the Department

of Justice; and to return YAROSHENKO to FCI Danbury on or before Monday, May 2, 2022,

unless the President executes the clemency power with respect to YAROSHENKO during the

period in which the USMS has custody of YAROSHENKO.

               WHEREFORE, the Government respectfully requests that the attached Order be

issued requiring the BOP and the Warden of FCI Danbury to allow the USMS to remove

YAROSHENKO from FCI Danbury on Saturday, April 23, 2022, or any day thereafter until

Monday, May 2, 2022. The Government further requests, with the consent of defense counsel,

that in order to avoid frustrating the aforementioned foreign policy interests, and to ensure the

safety and security of the USMS personnel taking custody of YAROSHENKO, this Affirmation

and accompanying Order be maintained under seal until either 24 hours after the release of

YAROSHENKO from USMS custody, or when YAROSHENKO is returned to FCI Danbury on

or before May 2, 2022, whichever occurs earlier. The Government will promptly advise the

Court upon the occurrence of either event.

Dated: New York, New York
       April 22, 2022
                                              /s/ George D. Turner
                                              George D. Turner
                                              Assistant United States Attorney
                                              (212) 637-2562

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA                                    :
                                                                 SEALED
                    - v. -                                  :    ORDER

KONSTANTIN YAROSHENKO,                                      :    09 Cr. 524 (JSR)

                                        Defendant.          :

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                    Upon the application of Damian Williams, United States Attorney for the

Southern District of New York, by George D. Turner, Assistant United States Attorney, made to

this Court by Affirmation dated April 22, 2022, and pursuant to the All Writs Act, 28 U.S.C.

§ 1651, it is hereby

                    ORDERED that:

                    1.        The Bureau of Prisons (“BOP”), and the Warden of FCI Danbury in

Danbury, Connecticut (“FCI Danbury”), shall allow personnel of the U.S. Marshals Service

(“USMS”) to remove KONSTANTIN YAROSHENKO (“YAROSHENKO”) (BOP Register

Number 91562-054) from FCI Danbury on Saturday, April 23, 2022, or any day thereafter until

Monday, May 2, 2022.

                    2.        The USMS shall keep YAROSHENKO in its custody, and shall be

responsible for the safekeeping and welfare of YAROSHENKO, unless and until the President of

the United States executes the clemency power under Article II of the U.S. Constitution with

respect to YAROSHENKO.
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              3.     The USMS shall return YAROSHENKO to FCI Danbury on or before

Monday, May 2, 2022, unless the President executes the clemency power with respect to

YAROSHENKO during the period in which the USMS has custody of YAROSHENKO.

              4.     This Order and underlying Affirmation shall be maintained under seal

until either 24 hours after the release of YAROSHENKO from USMS custody, or when

YAROSHENKO is returned to FCI Danbury on or before May 2, 2022, whichever occurs

earlier. The Government shall promptly advise the Court upon the occurrence of either event.

Dated: New York, New York
       April 22, 2022


                                    /s/ Jed S. Rakoff
                                    HONORABLE JED S. RAKOFF
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF NEW YORK




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